                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 23-1293
                                      ___________________

                               Associated Electric Cooperative, Inc.

                                               Plaintiff - Appellant

                                                 v.

                                    Southwest Power Pool, Inc.

                                            Defendant - Appellee
                                      ___________________

                                          No: 23-2627
                                      ___________________

                               Associated Electric Cooperative, Inc.

                                               Plaintiff - Appellee

                                                 v.

                                    Southwest Power Pool, Inc.

                                   Defendant - Appellant
______________________________________________________________________________

      Appeals from U.S. District Court for the Western District of Missouri - Springfield
                                   (6:22-cv-03030-BCW)
______________________________________________________________________________

                                           JUDGMENT


Before COLLOTON, Chief Judge, MELLOY, and GRUENDER, Circuit Judges.


       These appeals from the United States District Court were submitted on the record of the

district court, briefs of the parties and were argued by counsel.




   Appellate Case: 23-1293          Page: 1      Date Filed: 08/05/2024 Entry ID: 5420656
       After consideration, it is hereby ordered and adjudged that the orders of the district court

in these causes are affirmed in accordance with the opinion of this Court.

                                                     August 05, 2024




Order Entered in Accordance with Opinion:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




   Appellate Case: 23-1293         Page: 2      Date Filed: 08/05/2024 Entry ID: 5420656
